Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 1 of 17 Pageid#: 15492




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,


                           Plaintiffs,

    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOTT KLINE a/k/a ELI MOSLEY,         Civil Action No. 3:17-cv-00072-NKM
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, LOYAL WHITE KNIGHTS
    OF THE KU KLUX KLAN, and EAST
    COAST KNIGHTS OF THE KU KLUX
    KLAN a/k/a EAST COAST KNIGHTS OF
    THE TRUE INVISIBLE EMPIRE,

                           Defendants.


    PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR MOTION FOR SANCTIONS
           AGAINST DEFENDANT NATIONAL SOCIALIST MOVEMENT
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 2 of 17 Pageid#: 15493




                                                      TABLE OF CONTENTS

   TABLE OF AUTHORITIES ......................................................................................................... iii

   PRELIMINARY STATEMENT .................................................................................................... 1

   ARGUMENT .................................................................................................................................. 2

             I.         NSM Has Failed to Comply with Its Discovery Obligations and the June
                        23 Order .................................................................................................................. 2

                        A.         NSM’s Failure to Provide Valid Credentials for Accounts in
                                   Colucci’s Custody or Control ..................................................................... 2

                        B.         NSM’s Failure to Investigate Potentially Relevant Custodians .................. 5

             II.        Plaintiffs Are Entitled to Adverse Inferences as a Sanction for NSM’s
                        Bad-Faith Conduct in Discovery ............................................................................ 8

             III.       NSM’s Other Arguments Are Irrelevant or Meritless .......................................... 11

   CONCLUSION ............................................................................................................................. 12




                                                                          ii
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 3 of 17 Pageid#: 15494




                                                  TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

   Cases

   Colonies Partners, L.P. v. Cty. of San Bernardino,
    2020 WL 1496444 (C.D. Cal. Feb. 27, 2020), report and recommendation adopted,
    No.518CV00420JGBSHK, 2020 WL 1491339 (C.D. Cal. Mar. 27, 2020) .............................. 11

   d’Amico Dry d.a.c. v. Nikka Fin., Inc.,
     429 F. Supp. 3d 1290 (S.D. Ala. 2019), appeal dismissed, No. 19-11189-GG, 2020 WL
     5498487(11th Cir. May 19, 2020) ............................................................................................. 10

   Hadidi v. Intracoastal Land Sales, Inc.,
    No. 4:12-CV-00535-RBH, 2013 WL 12148457 (D.S.C. Aug. 29, 2013)................................. 10

   In re Reifler, No. 18-CV-4,
     711 (KMK), 2019 WL 396525 (S.D.N.Y. Jan. 31, 2019) ......................................................... 11

   OmniGen Research v. Yongqiang Wang,
    321 F.R.D. 367 (D. Or. 2017) ................................................................................................... 11

   Sines v. Kessler,
     No. 3:17-CV-00072, 2019 WL 3767475 (W.D. Va. Aug. 9, 2019)............................................ 9

   Stevenson v. Union Pac. R.R.,
     354 F.3d 739 (8th Cir. 2004) ..................................................................................................... 10

   Tholen v. Assist Am., Inc.,
     2019 WL 3293709 (D. Minn. Apr. 18, 2019), report and recommendation adopted,
     No. CV 17-3919 (DWF/SER), 2019 WL 2387109 (D. Minn. June 6, 2019) ............................. 9

   Victor Stanley, Inc. v. Creative Pipe, Inc.,
     269 F.R.D. 497 (D. Md. 2010) .................................................................................................. 10

   Vodusek v. Bayliner Marine Corp.,
     71 F.3d 148 (4th Cir. 1995) ....................................................................................................... 10

   Rules

   Fed. R. Civ. P. 37(b) ....................................................................................................... 8, 9, 10, 11

   Fed. R. Civ. P. 37(e) ............................................................................................................... 10, 11




                                                                       iii
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 4 of 17 Pageid#: 15495




                                     PRELIMINARY STATEMENT

           Plaintiffs’ Motion for Sanctions (“Motion” or “Mot.”) explained the lengthy history of

   discovery deficiencies by NSM,1 including its failure to comply with express Court orders (most

   notably, the June 23 Order) or to engage in discovery in good faith, and why those deficiencies

   merit evidentiary sanctions. See ECF No. 894. NSM’s Response in Opposition (“Resp.”) fails to

   address the core reasons why adverse inferences are justified as set forth in the Motion. See ECF

   No. 899. Instead, NSM attempts to distract the Court with misrepresentations, falsehoods,

   references to irrelevant side issues, inflammatory rhetoric, and arguments about the merits of

   Plaintiffs’ conspiracy claims. NSM also accuses Plaintiffs of relying on the incorrect legal

   standard, apparently misunderstanding that Plaintiffs’ motion seeks evidentiary sanctions under

   Rule 37(b)(2)(a) for NSM’s failure to obey a discovery order, and instead refers the Court to the

   standard for spoliation under Rule 37(e). Perhaps most gallingly, NSM “certifies,” in what is

   merely self-serving say-so and ipse dixit, that it “acted in good faith to resolve any discovery

   dispute relevant to the Plaintiffs’ Motion for Sanctions, . . . prior to the filing of Plaintiffs’ motion.”

   Resp. 12. Yet NSM does not dispute that Plaintiffs made at least four separate attempts to meet

   and confer with NSM about the discovery disputes at issue in Plaintiffs’ motion for sanctions and

   NSM failed to respond to a single one of Plaintiffs’ communications. Moreover, the factual record,

   as confirmed by NSM’s own filings, proves that NSM is still not in compliance with its discovery

   obligations. Plaintiffs’ Motion for Sanctions should be granted.




           1
               Defined terms used in this brief have the meanings given to them in the Motion.
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 5 of 17 Pageid#: 15496




                                             ARGUMENT

   I.     NSM Has Failed to Comply with Its Discovery Obligations and the June 23 Order

          After months of Plaintiffs’ fruitless attempts to work with NSM in good faith to obtain the

   discovery to which they are entitled under the Federal Rules and this Court’s Orders, the Court’s

   June 23 Order required NSM to take several specific actions, including: (1) to disclose (by July 1,

   2020) the social media credentials and electronic devices in the control of Burt Colucci, NSM’s

   current “Commander,” and submit those devices to the Vendor for imaging; and (2) to conduct an

   investigation into other potentially relevant NSM custodians and (by July 3, 2020) provide

   Plaintiffs with a list of those custodians and their social media credentials. See ECF No. 774 at 13;

   Mot. 6–7. NSM now claims that it complied with the June 23 Order by “submitt[ing] all devices,

   accounts and custodians within their control to both opposing counsel and the Vendor.” Resp. 4.

   NSM’s conclusory assertion is belied by the factual record and in any event does not satisfy its

   obligations under the June 23 Order. The record shows that (1) Colucci did not provide the Vendor

   access to all email and social media accounts in his control, (2) NSM’s counsel, Edward ReBrook,

   did not conduct a meaningful investigation of all potentially relevant NSM custodians, and (3)

   NSM did not provide Plaintiffs with a list of all potential NSM custodians and their social media

   credentials.

          A.      NSM’s Failure to Provide Valid Credentials for Accounts in Colucci’s Custody
                  or Control

          Colucci has not provided the Vendor with access to all social media accounts in his control.

   While NSM claims that all password and two-factor authentication issues have been resolved and

   all responsive documents produced, Resp. 6–7, Plaintiffs and the Vendor are still unable to access

   26 email and social-media accounts in NSM’s custody or control due to missing credentials, two-

   factor authentication problems, or other technical issues. Indeed, the Vendor’s most recent report



                                                    2
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 6 of 17 Pageid#: 15497




   (filed by NSM as Exhibit 7 to its own Response) confirms this. See ECF No. 899-7 at 5–6.

   Specifically,   the   Vendor   has   been   unable    to   access   chiefofstaff@nsm88.org     and

   commanderburt@nsm88.org (both email accounts used by Colucci) because Colucci provided

   incorrect or no credentials and then deleted the accounts entirely; the Vendor has been unable to

   access commander@nsm88.org (also used by Colucci) because Colucci provided no password and

   claimed the account was inactive; and it has been unable to access 13 other NSM email accounts

   as well as NSM’s two podcasting services, Facebook account, three newsletter services, Twitter

   account, two VK accounts, and YouTube account due to missing credentials or other problems.

   See ECF No. 899-7 at 5–6. NSM’s filings also indicate that Colucci is now using a previously

   undisclosed email address, commandercolucci@nsm88.org, see ECF No. 899-4 at 3–4, for which

   Colucci has not provided credentials, see ECF No. 899-7 at 5–6. Moreover, several of the accounts

   that Plaintiffs have been unable to access are accounts that Plaintiffs specifically identified in

   Appendix A to Plaintiffs’ Motion to Compel and for which the Court specifically instructed

   Colucci to provide valid credentials. See ECF No. 708-14 at 2; ECF No. 774 at 12 (instructing

   Colucci to disclose, among other credentials, “the credentials for the accounts in Appendix

   A . . . )”).

           NSM concedes, as it must, that there “were indeed issues of two factor authentication,” yet

   asserts that “these minimal issues were resolved almost immediately when brought to defense

   counsel’s attention” and that these issues are now “resolved with the Vendor.” Resp. 7. That is

   plainly false given that Plaintiffs today remain unable to access 26 NSM accounts due to invalid

   credentials, Colucci’s deletion, two-factor authentication problems, or some combination of those

   issues. See ECF No. 899-7 at 5–6.




                                                    3
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 7 of 17 Pageid#: 15498




          NSM’s failure to comply in good faith with the Court’s June 23 Order is further highlighted

   by Colucci’s decision to delete two of his email accounts: chiefofstaff@nsm88.org and

   commanderburt@nsm88.org. NSM has been on notice of its preservation obligations as early as

   January 2018, when it was first served with document requests. Colucci was again warned in his

   December 10, 2019, deposition on NSM’s behalf that he and NSM were “under an obligation not

   to delete anything that you have either in hard copy or electronically.” ECF No. 674-5 at 264. Even

   at that time, Colucci looked for ways to evade his obligations, suggesting that he would not comply

   with those obligations without a Court order and asserting the fiction, rejected by the Court, that

   the NSM that is a Defendant in this lawsuit is different from his organization, the National Socialist

   Movement Corporation in Florida.2 See, e.g., id. at 264–67 (Colucci deposition testimony).

          Notwithstanding a Court order requiring Colucci to certify credentials for all accounts in

   his custody or control, Colucci then provided the Vendor with an incorrect password to

   commanderburt@nsm88.org and no password to chiefofstaff@nsm88.org, and then, the day after

   the Vendor was supposed to have completed collection, changed his passwords, and deleted the

   accounts. See Mot 9. In defending this misconduct, NSM does not dispute these basic facts. See

   Resp. 6. Rather, NSM claims that “[t]here was no reason for those accounts to exist anymore” and

   “there would have been no logical reason for Mr. Colucci to believe all responsive ESI had not

   been collected and given to the Plaintiffs” after that date. Id. NSM’s argument that “[t]here was no

   reason for those accounts to exist anymore,” even assuming that the Vendor had been able to

   collect the responsive data from those accounts, is of course a complete misunderstanding of a



          2
            The Court rejected this defense in the June 23 Order granting Plaintiffs’ Second Motion
   to Compel, which reaffirmed that “Mr. Colucci is Defendant NSM’s director, officer, or managing
   agent under Rule 30(b)(6)” and that he therefore had a duty to respond to properly served discovery
   requests on behalf of NSM. ECF No. 774 at 8–9.


                                                     4
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 8 of 17 Pageid#: 15499




   litigant’s preservation obligations. In any case, the Vendor was not able to collect responsive data

   specifically because Colucci failed to provide valid credentials, after which he affirmatively

   deleted the accounts. NSM’s attempt to place the blame for Colucci’s misconduct on the Vendor,

   see id. (“I guess apparently IDS dropped the ball on that”), is thus simply not believable. The fact

   that Colucci provided the Vendor with incorrect credentials and then accessed those accounts

   shortly thereafter to delete them strongly suggests that he had the correct passwords all along—he

   just refused to provide them to the Vendor, in clear violation of the Court’s June 23 Order.

          B.      NSM’s Failure to Investigate Potentially Relevant Custodians

          NSM has similarly meager excuses for its failure to conduct the Court-ordered

   investigation into potentially relevant NSM custodians and their social media credentials. NSM

   claims that it “repeatedly inquired about any other possibly responsive custodians.” Resp. 4. To

   support that proposition, however, NSM relies on an email from ReBrook to Colucci dated May

   28, 2020. That email predates the Court’s June 23 Order, and in any event simply shows that the

   “investigation” consisted merely of asking Colucci (yet again) for custodians. See ECF No. 899-4

   at 2. That effort does not comply with the June 23 Order. NSM also relies on an email in which

   Colucci informed ReBrook’s assistant (and Jeff Schoep’s girlfriend) Acacia Dietz that he spoke to

   “current members” of NSM who “have never been to Charlottesville” and claim to “have no

   responsive documents pertaining to Unite the Right.” Id. at 3. However, that too reflects no attempt

   to create a list of potential NSM custodians or their social-media credentials. See id.3 While

   Colucci himself disclosed about 35 email addresses purportedly used by other NSM custodians,



          3
             Colucci’s email also relies on the same fallacy that NSM has repeatedly relied on in this
   litigation: “Since I have never been to Charlottesville in my life either, nor was I a member of the
   NSM at that time [of Unite the Right], it is impossible for me to have an responsive documents
   [sic] or information.” ECF No. 899-4 at 3.


                                                    5
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 9 of 17 Pageid#: 15500




   the Vendor has been unable to access 13 of those email accounts due to issues with credentials and

   two-factor authentication, as described above, see ECF No. 899-7 at 5–6,4 and NSM’s claim that

   these credentials were resolved, Resp. 7, is contradicted by the record, including NSM’s own

   exhibits.

          In short, NSM has still taken no concrete steps toward completing the Court-ordered

   investigation into potential NSM custodians. In fact, it appears as though NSM has not taken the

   basic step of asking Schoep or any other individual who attended Unite the Right about potential

   NSM custodians. NSM also has not undertaken any investigation into the other potential NSM

   custodians previously identified by Colucci and Plaintiffs, including individuals in NSM’s “inner

   circle,” including Mike Schloar and Harry Hughes, and individuals who were present at Unite the

   Right, including Ken Parker and Peter Tefft. See ECF No. 708-14 at 3–5 (identifying potential

   custodians and social-media accounts in Appendices B and C).

          Instead of investigating these (or any other) potentially relevant custodians, NSM contends

   that there simply are no NSM custodians aside from Colucci and Schoep: “Plaintiffs’ counsel is

   convinced there are other NSM responsive custodians, however, defense counsel, Defendant

   Schoep or Mr. Colucci cannot provide that which simply does not exist.” Resp. 4. Yet NSM

   immediately contradicts itself by claiming that it has produced the documents of one other

   custodian, Brian Culpepper, while arguing that this meager production satisfies its burden under

   the June 23 Order. Id. And setting aside this inconsistency in NSM’s position, the Court ordered

   NSM not only to “give the Vendor and Plaintiffs’ counsel a complete list of all potentially relevant



          4
            The email account of Mike Schloar, one of the individuals identified by Colucci as a
   member of NSM’s “inner circle” (nsmssdivision@gmail.com) and included on Appendix C, is one
   of the accounts that the Vendor has been unable to access due to incorrect credentials. See ECF
   No. 899-7 at 6.


                                                    6
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 10 of 17 Pageid#:
                                  15501



 custodians” but also to provide their social-media credentials, “including but not limited to the

 credentials for the accounts listed in Appendix C.” ECF No. 774 at 13 (emphasis added). NSM

 entirely ignores that it has failed to provide a list of custodians or valid credentials for the

 individuals and accounts listed in Appendix C, or even to attempt to do so.

         Unable to seriously dispute that NSM has failed to satisfy its obligations under the June 23

 Order, NSM’s Response largely offers up conclusory assertions that are belied by the facts. See,

 e.g., Resp. 1 (“[A]ll of the reasonably relevant documents, electronically stored information, and

 custodians to which the Plaintiffs would be entitled have been produced or offered for

 production.”); id. (“To date, Defendant NSM has turned over all possibly discoverable materials

 within its control.”); id. at 2 (“It is defense counsel’s position that both Defendant NSM and

 Defendant Schoep have complied with the discovery order to the full extent of their ability to do

 so.”); id. at 3 (“[A]ll parties in question have done everything humanly possible and within their

 control to remedy all discovery requests and issues.”); id. at 5 (“All possible custodians, accounts

 and devices that were within Defendant NSM, Schoep and Mr. Colucci’s control were released to

 the Vendor . . . .”).

         Shockingly, NSM even asserts that “defense counsel was surprised to learn that Plaintiffs’

 counsel felt it necessary to file the motion that is now before the Court,” id. at 5, notwithstanding

 the fact that Plaintiffs had been for months attempting to meet and confer regarding NSM’s

 discovery deficiencies, see Mot. 7–9. For the same reason, NSM’s “certification” that it “has acted

 in good faith to resolve any discovery dispute relevant to the Plaintiffs’ Motion for Sanctions,”

 Resp. 12, is plainly contradicted by the record. Plaintiffs contacted ReBrook on four separate

 occasions regarding NSM’s discovery deficiencies, including issues accessing Colucci’s accounts

 and credentials and NSM’s failure to comply with the Court’s Order on custodians and their




                                                  7
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 11 of 17 Pageid#:
                                  15502



 accounts and credentials. See Mot. 9. NSM does not and cannot dispute that ReBrook did not

 respond to a single one of these communications before Plaintiffs filed their Motion. Id. NSM’s

 accusations that Plaintiffs have attempted to distort the record, see, e.g., Resp. 8 (accusing

 Plaintiffs of “misrepresentation” of “material fact”), must be rejected.

 II.    Plaintiffs Are Entitled to Adverse Inferences as a Sanction for NSM’s Bad-Faith
        Conduct in Discovery

        Despite explicitly acknowledging that Plaintiffs brought their Motion under Rule

 37(b)(2)(A), see Resp. 9, NSM nonetheless inexplicably treats the Motion as if it were one

 concerning spoliation of evidence.5 The Court should reject NSM’s attempt to recharacterize

 Plaintiffs’ Motion. Plaintiffs moved for adverse inferences pursuant to Federal Rule of Civil

 Procedure 37(b)(2)(A) based on NSM’s failure to comply with Court orders permitting discovery.

 See Mot. 11. Not only is the Motion clear on its face, but Plaintiffs’ requested adverse inference

 seeks an instruction that NSM chose to “intentionally withhold” documents, not that documents

 were destroyed or lost. Id. at 2. This request is firmly supported by the factual record and applicable

 law.

        As discussed in the Motion and above, NSM failed to obey discovery orders issued by this

 Court and is still out of compliance with the June 23 Order. Among other things, NSM has not

 provided valid credentials for accounts in Colucci’s control or conducted a meaningful

 investigation of potentially relevant custodians for NSM. See Mot. 7–9, 12–14. This is part of a

 long-running strategy by NSM to avoid compliance with discovery orders in this case. See id. at

 18. Following the Stipulation and Order for the Imaging, Preservation, and Production of

 Documents, which required NSM to identify sources of potentially relevant documents, NSM only



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            Plaintiffs reserve all rights to bring a separate spoliation motion against NSM.


                                                    8
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 12 of 17 Pageid#:
                                  15503



 identified sources controlled by Schoep. See id. at 3–4. But when Schoep turned over his cell phone

 to the Vendor for imaging, he simultaneously disclosed for the first time that it had “fallen in the

 toilet” after the litigation started, rendering its contents unrecoverable. See First Mot. to Compel

 1. The loss of that valuable source of documents made it all the more important to identify other

 NSM custodians and sources of documents. But instead of doing so, Schoep fired Kolenich and

 turned control of NSM over to Colucci. See Mot. 3–4. Plaintiffs then had to start over with

 ReBrook and Colucci in March 2019. Only after months of effort and a Court order were Plaintiffs

 able to depose Colucci in December 2019—almost two years after discovery requests were first

 served—and learned that NSM had failed to disclose responsive devices and accounts and that no

 meaningful investigation of custodians had occurred. See id. at 5. Plaintiffs then expended further

 time and resources to obtain another Court order in an attempt to correct these longstanding

 deficiencies, and yet now, 20 months after ReBrook first entered the litigation and almost three

 years after being served with discovery requests, NSM still is out of compliance with the Court’s

 discovery orders.

        Because of NSM’s bad-faith conduct in discovery, Plaintiffs moved for adverse

 inferences—an available sanction under Rule 37(b)(2)(A). See Sines v. Kessler, No. 3:17-CV-

 00072, 2019 WL 3767475, at *3 (W.D. Va. Aug. 9, 2019) (“The sanctions listed in Rule

 37(b)(2)(A) are not exclusive and arbitrary but flexible, selective, and plural . . . . Specific options

 include an order deeming facts established, allowing or requiring an adverse inference, and

 entering default judgment against the disobedient party.” (internal marks and citation omitted));

 see also Tholen v. Assist Am., Inc., No. 17-CV-3919 (DWF/SER), 2019 WL 3293709, at *4-5 (D.

 Minn. Apr. 18, 2019) (imposing adverse inference sanction where failure to engage in reasonable

 search for discovery and failure to produce relevant documents deprived the other side of a




                                                    9
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 13 of 17 Pageid#:
                                  15504



 meaningful inquiry), report and recommendation adopted, No. CV 17-3919 (DWF/SER), 2019

 WL 2387109 (D. Minn. June 6, 2019); d’Amico Dry d.a.c. v. Nikka Fin., Inc., 429 F. Supp. 3d

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 discovery order and explanation for failure to retrieve records was not credible), appeal

 dismissed, No. 19-11189-GG, 2020 WL 5498487 (11th Cir. May 19, 2020); Hadidi v. Intracoastal

 Land Sales, Inc., No. 4:12-CV-00535-RBH, 2013 WL 12148457, at *1 (D.S.C. Aug. 29, 2013)

 (noting that sanctions under Rule 37(b)(A) for withholding evidence in violation of court order

 could include drawing adverse inferences); see also Fed. R. Civ. P. 37(b)(2) (sanctions “may

 include” certain specified actions). The fact that NSM, through its current leader Colucci and

 former leader Schoep, has destroyed responsive documents, accounts, and devices only further

 underscores NSM’s bad faith and why lesser sanctions would not be appropriate. Mot. 18.

        Rather than address its refusal to comply with court orders and the Rule 37(b)(2)(A)

 factors, NSM instead criticizes Plaintiffs for citing Vodusek v. Bayliner Marine Corp., 71 F.3d 148

 (4th Cir. 1995), which NSM claims predates a 2015 amendment to Rule 37(e), which governs

 spoliation. See Resp 10. But Plaintiffs did not bring their Motion under Rule 37(e).6 And pursuant


        6
           In any event, NSM’s discussion of the law and facts related to Rule 37(e) are wrong. In
 order to impose adverse inferences under Rule 37(e), there must be a “finding that the party acted
 with intent to deprive another party of the information’s use in the litigation.” Fed. R. Civ. P.
 37(e)(2). NSM implies that Vodusek is irrelevant or outdated because it impermissibly allowed a
 negligence or gross negligence standard for spoliation. That is incorrect: Vodusek explicitly found
 that a showing of intentional or willful conduct was required to impose an adverse inference
 sanction. See 71 F.3d at 156. Moreover, the case that NSM itself proffers for the purported standard
 under Rule 37(e), see Resp. 8 (citing Stevenson v. Union Pac. R.R., 354 F.3d 739, 746 (8th Cir.
 2004)), is an out-of-circuit case imposing a bad-faith standard that has never been adopted in the
 Fourth Circuit. See Vodusek, 71 F.3d at 156 (“While a finding of bad faith suffices to permit [an
 adverse] inference, it is not always necessary.”); see also Victor Stanley, Inc. v. Creative Pipe,
 Inc., 269 F.R.D. 497, 536 (D. Md. 2010) (explicitly noting bad-faith standard in Stevenson and
 rejecting it as inconsistent with Fourth Circuit law). And nothing in the text or advisory notes of
 Rule 37(e) requires a finding of bad faith.



                                                 10
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 14 of 17 Pageid#:
                                  15505



 to Rule 37(b)(2)(A), NSM’s bad-faith conduct and failure to comply with discovery orders in this

 case justifies the imposition of adverse inferences.

 III.   NSM’s Other Arguments Are Irrelevant or Meritless

        NSM makes several other irrelevant or meritless arguments that serve only to distract from

 NSM’s failure to comply with the June 23 Order. First, NSM repeatedly argues that Plaintiffs’ case

 fails on the merits. See, e.g., Resp. 1 (“Defendant NSM has maintained since the beginning of this

 litigation that they were not part of any conspiracy to commit racially-motivated violence.”); see

 id. at 5. Of course, such assertions are irrelevant. NSM will have the opportunity to mount its

 defenses on the merits at trial. The question at issue in this Motion is whether NSM has lived up

 to its discovery obligations under the Federal Rules and this Court’s express orders. It has not.

        NSM also relies on inflammatory rhetoric and discussion of irrelevant side issues, neither

 of which bolsters NSM’s substantive arguments. See, e.g., id. at 1 (“[Plaintiffs’] motion reads as

 though it is holy scripture.”); id. at 5 (“Plaintiffs’ motions are impressively thick and filled with

 attachments . . . .”). NSM even attempts to relitigate Plaintiffs’ First Motion to Compel, which the


         Moreover, even if Plaintiffs were required to show intentionality or bad faith under Rule
 37(e), Plaintiffs would satisfy that requirement. While NSM suggests that its deletion of email
 accounts was at most negligent, not intentional, that assertion is simply not believable. As
 discussed supra at 4–5, Colucci was on notice of his preservation obligations and still deleted
 email accounts. Colucci’s effort to blame the Vendor is not credible since Colucci failed to provide
 the Vendor the necessary credentials to access the accounts yet a day later managed to use accurate
 credentials to delete those accounts. These facts lead to the inescapable conclusion that Colucci
 acted willfully. See Colonies Partners, L.P. v. Cty. of San Bernardino, No. 518CV00420JGBSHK,
 2020 WL 1496444, at *10 (C.D. Cal. Feb. 27, 2020) (granting adverse inferences for spoliation
 where defendant deleted texts and email account long after litigation had begun), report and
 recommendation adopted, No. 518CV00420JGBSHK, 2020 WL 1491339 (C.D. Cal. Mar. 27,
 2020); In re Reifler, No. 18-CV-4711 (KMK), 2019 WL 396525, at *8–9 (S.D.N.Y. Jan. 31, 2019)
 (defendant engaged in “campaign of intentional spoliation” where he deleted emails and
 documents, failed to comply with court orders, and refused to identify or provide access to
 electronic devices); OmniGen Research v. Yongqiang Wang, 321 F.R.D. 367, 373 (D. Or. 2017)
 (intentional deletion of files constitutes intentional spoliation for purposes of Rule 37(e)(2)).




                                                  11
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 15 of 17 Pageid#:
                                  15506



 Court granted over NSM’s opposition, see ECF No. 582, and complains about the conduct of

 NSM’s prior counsel, James Kolenich. See Resp. 2–3.

        Finally, NSM asserts that Plaintiffs have suffered no prejudice because they requested that

 the trial be postponed from October 26, 2020, due to the COVID-19 pandemic. Resp. 12. But trial

 was originally scheduled for July 8, 2019, see ECF No. 329, and the Court was forced to continue

 the trial date due to Defendants’ failures to comply with discovery, see ECF No. 461. If NSM (like

 other Defendants) had not attempted at every turn to duck its discovery obligations, then trial

 would have occurred long before COVID-19 had become an issue. Moreover, Plaintiffs have also

 been significantly prejudiced because NSM has continued to deny them access to the discovery to

 which Plaintiffs are entitled. See Mot. 14–15.

                                         CONCLUSION

        For the reasons above, Plaintiffs request that the Court instruct the jury that NSM chose to

 intentionally withhold its documents, and that the jury may draw adverse inferences from that fact,

 including that NSM chose to withhold such documents because it was aware that such documents

 contained evidence that NSM conspired to plan racially motivated violence at Unite the Right.



  Dated: November 5, 2020                          Respectfully submitted,

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                                                  12
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 16 of 17 Pageid#:
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                                      13
Case 3:17-cv-00072-NKM-JCH Document 904 Filed 11/05/20 Page 17 of 17 Pageid#:
                                  15508



                                   CERTIFICATE OF SERVICE

        I hereby certify that on November 5, 2020, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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                                               14
